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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO

    In re:                                                 )    Chapter 11
                                                           )
    Hopedale Mining LLC, et al.,1                          )              1:20-bk-12043 ( )
                                                                Case No. ______________
                                                           )
                                                           )    (Joint Administration Proposed)
                                                           )
    Debtors.                                               )    Honorable __________________________

DEBTORS’ MOTION FOR ENTRY OF AN ORDER PURSUANT TO RULE 1015(b) OF
    THE FEDERAL RULES OF BANKRUPTCY PROCEDURE DIRECTING
     JOINT ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), by

and through their proposed counsel, hereby move this Court (this “Motion”) for entry of an order

(the “Proposed Order”), in substantially the form attached hereto as Exhibit A, granting joint

administration of their respective chapter 11 cases. In support of this Motion, the Debtors

respectfully state as follows:

                                         JURISDICTION AND VENUE

             1.   This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this proceeding

and this Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.




1
 The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Rhino GP LLC (8619), Rhino Resource Partners LP (7517), Rhino Energy LLC (6320), Rhino Trucking
LLC (8773), Rhino Exploration LLC (8863), Triad Roof Support Systems LLC (1183), Springdale Land LLC (9816),
McClane Canyon Mining LLC (3783), Rhino Northern Holdings LLC (1858), CAM-Ohio Real Estate LLC (1859),
CAM-Colorado LLC (4269), Taylorville Mining LLC (5106), CAM Coal Trading LLC (4143), Castle Valley Mining
LLC (9495), Jewell Valley Mining LLC (0270), Rhino Services LLC (3356), Rhino Oilfield Services LLC (8938),
Rhino Technologies LLC (0994), CAM Mining LLC (2498), Rhino Coalfield Services LLC (3924), Hopedale Mining
LLC (9060), CAM-Kentucky Real Estate LLC (9089), CAM-BB LLC (9097), Leesville Land LLC (7794), CAM
Aircraft LLC (5467), Pennyrile Energy LLC (6095), Rhino Eastern LLC (1457), Rockhouse Land LLC (7702).


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       2.      The statutory bases for the relief requested herein are section 105(a) of title 11 of

the United States Code (the “Bankruptcy Code”) and Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

                                           BACKGROUND

       3.      The Debtors commenced chapter 11 cases under which they are seeking joint

administration (the “Chapter 11 Cases”) by filing voluntary petitions for relief under chapter 11

of the Bankruptcy Code on July 22, 2020 (the “Petition Date”). Pursuant to sections 1107(a) and

1108 of the Bankruptcy Code, the Debtors are operating their businesses and managing their affairs

as debtors-in-possession.

       4.      The Debtors are diversified coal producers focused on coal and energy related

assets and activities. The Debtors produce, process and sell high quality coal of various steam and

metallurgical grades from multiple coal producing basins in the United States. Additionally, the

Debtors market steam coal primarily to electric utility companies as fuel for their steam powered

generators. Customers for the Debtors’ metallurgical coal are primarily steel and coke producers

who use coal to produce coke, which is used as a raw material in the steel manufacturing process.

The Debtors operate underground and/or surface mines in Ohio, Kentucky, Virginia, and Utah,

with additional assets in West Virginia.

       5.      Additional information regarding the Debtors’ businesses, capital structure, and the

circumstances leading to the Chapter 11 Cases is contained in the Declaration of Richard A. Boone

in Support of First Day Motions of Debtors and Debtors-in-Possession (the “First Day

Declaration”), which is anticipated to be filed prior to a hearing on this Motion.

                                     RELIEF REQUESTED

       6.      In order to optimally and economically administer the Debtors’ pending Chapter

11 Cases, such cases should be jointly administered, solely for procedural purposes, under the case


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number assigned to Hopedale Mining LLC. Pursuant to section 105(a) of the Bankruptcy Code

and Bankruptcy Rule 1015(b), the Debtors seek entry of the Proposed Order (a) directing joint

administration of these Chapter 11 Cases and (b) granting related relief.

             7.   The Debtors request that the caption of the Chapter 11 Cases be modified to reflect

the joint administration of such cases, as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO

    In re:                                                   )   Chapter 11
                                                             )
    Hopedale Mining LLC, et al.,1                            )   Case No. ______________
                                                                          1:20-bk-12043 ( )
                                                             )
                                                             )   (Joint Administration Proposed)
                                                             )
    Debtors.                                                 )   Honorable __________________________

             8.   The Debtors also request that a docket entry be made in each of the above-captioned

cases substantially as follows:

                  An order has been entered in this case directing the procedural
                  consolidation and joint administration of the Chapter 11 cases
                  commenced by Rhino GP LLC, Rhino Resource Partners LP, Rhino
                  Energy LLC, Rhino Trucking LLC, Rhino Exploration LLC, Triad
                  Roof Support Systems LLC, Springdale Land LLC, McClane
                  Canyon Mining LLC, Rhino Northern Holdings LLC, CAM-Ohio
                  Real Estate LLC, CAM-Colorado LLC, Taylorville Mining LLC,
                  CAM Coal Trading LLC, Castle Valley Mining LLC, Jewel Valley
                  Mining LLC, Rhino Services LLC, Rhino Oilfield Services LLC,
                  Rhino Technologies LLC, CAM Mining LLC, Rhino Coalfield
                  Services LLC, Hopedale Mining LLC, CAM-Kentucky Real Estate
                  LLC, CAM-BB LLC, Leesville Land LLC, CAM Aircraft LLC,
                  Pennyrile Energy LLC, Rhino Eastern LLC, Rockhouse Land LLC.

1
 The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Rhino GP LLC (8619), Rhino Resource Partners LP (7517), Rhino Energy LLC (6320), Rhino Trucking
LLC (8773), Rhino Exploration LLC (8863), Triad Roof Support Systems LLC (1183), Springdale Land LLC (9816),
McClane Canyon Mining LLC (3783), Rhino Northern Holdings LLC (1858), CAM-Ohio Real Estate LLC (1859),
CAM-Colorado LLC (4269), Taylorville Mining LLC (5106), CAM Coal Trading LLC (4143), Castle Valley Mining
LLC (9495), Jewell Valley Mining LLC (0270), Rhino Services LLC (3356), Rhino Oilfield Services LLC (8938),
Rhino Technologies LLC (0994), CAM Mining LLC (2498), Rhino Coalfield Services LLC (3924), Hopedale Mining
LLC (9060), CAM-Kentucky Real Estate LLC (9089), CAM-BB LLC (9097), Leesville Land LLC (7794), CAM
Aircraft LLC (5467), Pennyrile Energy LLC (6095), Rhino Eastern LLC (1457), Rockhouse Land LLC (7702).


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                The docket in Case No. 20- ________       should be consulted for all
                matters affecting the above listed cases.

                                         BASIS FOR RELIEF

          9.    Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.”

          10.   Section 105(a) of the Bankruptcy Code provides the Court with the power to grant

the relief requested herein by permitting the Court to “issue any order, process, or judgment that

is necessary or appropriate to carry out the provisions of the [Bankruptcy Code].” 11 U.S.C. §

105(a).

          11.   Given the integrated nature of the Debtors’ operations, specifically, the fact that the

Debtors share common ownership, share resources and management systems, and the Debtors will

be borrowers and/or guarantors under the Debtors’ anticipated post-petition financing facility, joint

administration of these Chapter 11 Cases will provide significant administrative convenience.

Many of the motions, hearings, and orders in the Chapter 11 Cases will affect each and every

Debtor entity. The entry of the Proposed Order directing joint administration of the Chapter 11

Cases will reduce fees and costs by avoiding duplicative filings and objections. Joint

administration will allow the U.S. Trustee and all parties in interest to monitor the Chapter 11

Cases with greater ease and efficiency.

          12.   Further, the rights of the Debtors’ respective creditors will not be adversely affected

by the joint administration of the Chapter 11 Cases because this Motion requests only

administrative, not substantive, consolidation of the estates. For example, any creditor may still

file a claim against a particular Debtor or its estate, or all of the Debtors and their respective estates.

Thus, all of the Debtors’ creditors will benefit from the reduced costs as a result of such joint



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administration. This Court also will be relieved of the burden of entering duplicative orders and

maintaining duplicative files.

        13.     Finally, supervision of the administrative aspects of the Chapter 11 Cases by the

Office of the United States Trustee will be simplified. Accordingly, the Debtors submit that the

joint administration of these Chapter 11 Cases is in the best interests of their creditors and all other

parties in interest.

                                       MOTION PRACTICE

        14.     This motion includes citations to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this motion.

Accordingly, the Debtors submit that this motion satisfies Local Rule 9013-1(a).

                                               NOTICE

        15.     Notice of this Motion will be provided to: (i) the Southern District of Ohio Office

of the United States Trustee; (ii) the Debtors’ 40 largest unsecured creditors on a consolidated

basis; (iii) CB Agent Services LLC; (iv) Alter Domus (US) LLC; (v) Colbeck Capital

Management; (vi) Cion Investment Corporation; (vii) co-counsel to CB Agent Services LLC, Alter

Domus (US) LLC, Colbeck Capital Management and Cion Investment Corporation (A) Stroock &

Stroock & Lavan LLP, 180 Maiden Lane, New York, New York 10038 (Attn: Samantha Martin

and Frank Merola); and (B) Jackson Kelly PLLC, 100 West Main Street, Suite 700, Lexington,

KY 40507 (Attn: Mary Elisabeth Naumann) and 221 NW Fifth Street, Evansville, IN 47708 (Attn:

Charles A. Compton); (viii) all parties asserting a security interest in the assets of the Debtors to

the extent reasonably known to the Debtors; (ix) all parties to equipment leases with the Debtors

to the extent reasonably known to the Debtors; (x) all parties, including state and federal agencies,

asserting a surety bond interest in the assets of the Debtors to the extent reasonably known to the

Debtors; (xi) all parties asserting a taxing interest in the assets of the Debtors to the extent


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reasonably known to the Debtors; and (xii) those entities specifically affected by a specific motion.

Because of the exigencies of the circumstances and the irreparable harm to the Debtors that will

ensue if the relief requested herein is not granted, the Debtors submit that no other notice need be

given. Please take notice that the Debtors have filed a Motion for an Expedited Hearing to

consider First Day Motions, including the foregoing.

                                      NO PRIOR REQUEST

        16.    No prior motion for the relief requested herein has been made to this Court or any

other court.

        WHEREFORE, the Debtors respectfully request that this Court enter the Proposed Order,

(i) authorizing the joint administration of these Chapter 11 Cases under the case number assigned

to Hopedale Mining LLC, and (ii) granting such other and further relief as this Court deems

appropriate.


  Dated: July 22, 2020                           Respectfully submitted,


                                                 /s/ Douglas L. Lutz
                                                 Douglas L. Lutz
                                                 A.J. Webb
                                                 Erin P. Severini
                                                 FROST BROWN TODD LLC
                                                 3300 Great American Tower
                                                 301 East Fourth Street
                                                 Cincinnati, Ohio 45202
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                                                         eseverini@fbtlaw.com

                                                 PROPOSED ATTORNEYS FOR DEBTORS
                                                 AND DEBTORS-IN-POSSESSION




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